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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ENERGY INTELLIGENCE GROUP, INC. and
 ENERGY INTELLIGENCE GROUP (UK)
 LIMITED,                                                    Case No. 1:18-cv-06721

                    Plaintiffs,                              Hon. Joan B. Gottschall

            vs.

  BMO NESBITT BURNS SECURITIES LTD.,
  BMO CAPITAL MARKETS CORP., and BMO
  HARRIS BANK, N.A.,

                    Defendants.


                                     JOINT STATUS REPORT

       BMO Nesbitt Burns Securities Ltd. (“BMO Nesbitt Burns”), BMO Capital Markets Corp.

(“BMO Capital Markets”), and BMO Harris Bank, N.A. (“BMO Harris Bank”) (together,

“Defendants”), together with Energy Intelligence Group, Inc. and Energy Intelligence Group (UK)

Ltd. (together, “Plaintiffs”), respectfully submit this joint status report in accordance with the

Court’s March 18, 2019 order. (ECF No. 47.) The parties state as follows:

       1.         Plaintiffs filed this action, which asserted copyright infringement claims against

Defendants BMO Nesbitt Burns Securities Ltd. and BMO Harris Bank, N.A., on October 4, 2018.

(ECF No. 1.) Plaintiffs filed their First Amended Complaint (“FAC”) on February 1, 2019, naming

BMO Capital Markets Corp. as an additional defendant. (ECF No. 36.)

       2.         On March 14, 2019, the parties moved for an extension of time to answer the FAC

on the basis that (1) the parties had commenced settlement discussions, and (2) the parties were

engaged in continued discussions regarding “which parties should be named defendants in this

action and whether this venue remains proper as a result.” (ECF No. 45.) This Court granted that

request on March 18, 2019, providing that the parties would file a joint status report by April 15,




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2019 to report on the status of settlement and propose revised deadlines for Defendants’ time to

answer. (ECF No. 47.)

        3.      Accordingly, the parties report that they have made significant progress toward

settlement and remain hopeful that a resolution can be reached shortly.

        4.      The parties also report that they have reached agreement on the appropriate

defendants to this action. Current defendants BMO Harris Bank, N.A. and BMO Nesbitt Burns

Securities Ltd. will be dismissed without prejudice, and a new defendant, BMO Nesbitt Burns,

Inc., will be added to the lawsuit. The parties are engaged in discussions regarding the proper

venue for this litigation in view of the substitution of the parties.

        5.      In light of the above, the parties propose to submit a status report on or before April

30, 2019 including the following: (1) a further update on settlement; (2) a proposed date for the

amendment of the complaint to include the agreed-upon defendants; and (3) the parties’ respective

positions on whether the case should be transferred to a different venue. The parties further request

that the Court reschedule the status conference currently scheduled for April 24, 2019 to a date

convenient for the Court following the proposed April 30, 2019 date for the next status report.

Dated: April 15, 2019

    Respectfully submitted,

    By: /s/ Benjamin J. Bradford______                 By: /s/ Robert L. Powley
        Susan J. Kohlmann                                 Robert L. Powley
        Benjamin J. Bradford                              James M. Gibson
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         Counsel for BMO Nesbitt Securities            Counsel for Energy Intelligence Group, Inc.
         Ltd., BMO Capital Markets Corp. and           and Energy Intelligence Group (UK)
         BMO Harris Bank, N.A.                         Limited



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                                CERTIFICATE OF SERVICE
       I, Benjamin J. Bradford, an attorney, certify that I caused copies of the foregoing Status

Report to be served on all counsel of record via the Court’s electronic filing system.



                                                             ______/s/ Benjamin J. Bradford____
                                                                   Attorney for Defendants




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